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                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION
          IN RE:                                                          §
                                                                          §         CHAPTER 7
          MOUNTAIN EXPRESS OIL COMPANY, et al.,                           §
                                                                          §         CASE NO. 23-90147 (DRJ)
                           DEBTORS.      1                                §
                                                                          §          (Jointly Administered)

                               STIPULATION REGARDING MANAGEMENT OF
                                 UNITED STATES FUELING COMPANY, LLC

                   This stipulation is made and entered into by and among Janet S. Northrup as the Chapter

        7 Trustee (the “Trustee”) of the debtors in the above-captioned cases (collectively, the

        “Debtors”) and SASS Petroleum, LLC (“SASS”). The Parties hereby stipulate and agree as

        follows:

                   1.     United States Fueling LLC (“USF”) owned in equal percentage by SASS and

        Debtor, B&T Petroleum LLC.

                   2.     The Operating Agreement for USF provides that the Manger of USF shall be “ the

        person” then serving as President of Mountain Express Oil Company.

                   3.     A trustee (the “Trustee”) has been appointed over all of the Debtors, and is now in

        control of the estates.

                   4.     The Trustee has agreed with SASS that pending approval of the sale of the

        Debtors’ interest in USF, that SASS shall be permitted to serve as Manager of USF under the

        Operating Agreement.




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          A complete list of each of the Debtors in these Chapter 7 cases may be obtained on the website of the Debtors’
        proposed claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain
        Express Oil Company’s principal place of business and the Debtors’ service address in these Chapter 7 cases is 3650
        Mansell Road, Suite 250, Alpharetta, GA 30022

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                   5.     The Secured Lenders to the Debtors have reviewed and also approved this

        Stipulation.

                   6.     The parties hereto agree that this Stipulation shall have immediate effect upon

        approval by this Court.

                   Signed : August ___, 2023

                                                      __________________________________________
                                                      DAVID R. JONES
                                                      UNITED STATES BANKRUPTCY JUDGE


        AGREED BY:

        By: /s/ Joshua W. Wolfshohl                          By: /s/ John P. Melko
        PORTER & HEDGES LLP                                  FOLEY & LARDNER LLP
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        Proposed Counsel for the
        Chapter 7 Trustee, Janet Northrup                    Attorneys for SASS Petroleum, LLC




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